The judgment from which this appeal is prosecuted is in favor of appellee against appellant for state and county taxes assessed against lands owned and held by the appellant under a grant from the Mexican government on July 1, 1824, and confirmed by acts of the Congress of the Republic of Texas of date November 18, 1837, and January 20, 1841, respectively, Laws 1837, p. 21; Laws 1840-41, p. 46. The right to tax the lands was contested by appellant on the ground that under the grant and confirmatory acts before mentioned it was exempt from taxation, because it was dedicated to public municipal purposes, and has been continuously so held and used by the appellant. The question thus presented was certified by this court to the Supreme Court, and the answer of that court sustains appellant's contention, and requires that the judgment of the court below be reversed, and judgment here rendered for appellant. The very able and interesting opinion of Chief Justice Phillips, answering the certified question and giving a full statement of the case, is reported in 229 S.W. 845. Judgment will be entered in this court as above indicated. Reversed and rendered.
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